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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION
                               AT MACON, GEORGIA

                                    MINUTE SHEET
                                OF COURT PROCEEDINGS

Date: 7/7/2022                             Hearing: Motions to Suppress/Dismiss

Judge: Hugh Lawson                         Reporter: Tammy DiRocco

Courtroom Deputy: Nora Paul                Law Clerk: Amanda Smith

                                Case Number: 7:21-cr-58-HL

USA                                        Counsel: Sonja Profit

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William Phillips, Jr                       Counsel: Fabian Goffe

Disclaimer: Contents of this Minute Sheet are for administrative purposes ONLY and are
NOT meant as a substitution for the official court record. Attorneys should contact the court
reporter for an official transcript.
Time in Court: 2 hrs 5 mins

1:46 – Convene. Opening remarks by the Court.
1:49 – Deft’s Motion to Dismiss. Deft argument.
2:00 – Govt argument.
2:10 – Motion to Dismiss is denied from the Bench.
2:11 – Deft’s Motion to Suppress Physical Evidence/Statements. Govt argument.
2:12 – Govt calls 1st witness, Kenny Busby.
2:16 – Cross.
2:22 – Redirect.
2:23 – Govt calls 2nd witness, Jason Adams. Exhibit G1 – Video Body Cam of Jason Adams
Admitted.
2:54 – Cross.
3:21 – Redirect.
3:22 – Deft argument.
3:35 – Govt argument.
3:42 – Deft rebuttal.
3:47 – The Court denies both Motions to Suppress. This case is the second case on the
7/11/2022 Valdosta trial calendar.
3:51 – Hearing adjourned.
